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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 16-20893-CR-MORENO(s)

  UNITED STATES OF AMERICA,

  vs.

  MONTY RAY GROW,

                 Defendant.
  - - - - - - - - - - - - - -I

                                             VERDICT

  1.     We, the Jury, unanimously find the Defendant, Monty Ray Grow, as to Count 1 of the
  Superseding Indictment:

                 GUILTY: _ _ __                        NOT GUILTY: - - - - -

  If you find the Defendant Not Guilty as to Count 1, please move on to Count 2. If you find the
  Defendant Guilty as to Count 1, please indicate which offense the Defendant conspired to commit.
  (Please remember that in order to return a guilty verdict as to this offense, you must unanimously
  answer "yes" on at least one of the two lines below),

           a.      by knowingly and willfully executing a scheme and artifice to defraud a health care
  benefit program affecting commerce, as defined in Title 18, United States Code, Section 24(b ),
  that is, TRICARE, and to obtain, by means of materially false and fraudulent pretenses,
  representations, and promises, money and property owned by, and under the custody and control
  of, said health care benefit program, in connection with the delivery of and payment for health care
  benefits, items, and services, in violation of Title 18, United States Code, Section 1347; and


                 Yes                    No

          b.      by knowingly and with the intent to defraud devising and intending to devise a
  scheme and artifice to defraud and for obtaining money and property by means of materially false
  and fraudulent pretenses, representations, and promises, knowing the pretenses, representations,
  and promises were false and fraudulent when made, and for the purpose of executing the scheme
  and artifice, did knowingly transmit and cause to be transmitted by means of wire communication
                                                               •
  in interstate commerce, certain writings, signs, signals, pictures and sounds, in violation of Title
  18, United States Code, Section 1343.


                 Yes                    No
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  2.     We, the Jury, unanimously find the Defendant, Monty Ray Grow, as to Count 2 of the
  Superseding Indictment:

               GUILTY: _ _ __                    NOT GUILTY: _ _ __


  3.     We, the Jury, unanimously find the Defendant, Monty Ray Grow as to Count 3 of the
  Superseding Indictment:

               GUILTY: _ _ __                    NOT GUILTY: _ _ __


  4.     We, the Jury, unanimously find the Defendant, Monty Ray Grow as to Count 4 of the
  Superseding Indictment:

               GUILTY: _ _ __                    NOT GUILTY: _ _ __


  5.     We, the Jury, unanimously find the Defendant, Monty Ray Grow as to Count 5 of the
  Superseding Indictment:

               GUILTY: _ _ __                    NOT GUILTY: _ _ __


  6.     We, the Jury, unanimously find the Defendant, Monty Ray Grow as to Count 6 of the
  Superseding Indictment:

               GUILTY: _ _ __                    NOT GUILTY: _ _ __


  7.     We, the Jury, unanimously find the Defendant, Monty Ray Grow as to Count 7 of the
  Superseding Indictment:

               GUILTY: _ _ __                    NOT GUILTY: _ _ __


  8.     We, the Jury, unanimously find the Defendant, Monty Ray Grow as to Count 8 of the
  Superseding Indictment:

               GUILTY: _ _ __                    NOT GUILTY: _ _ __
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       9.      We, the Jury, unanimously find the Defendant, Monty Ray Grow, as to Count 9 of the
       Superseding Indictment which charges the Defendant with conspiracy to pay and receive health
       care kickbacks:

                      GUILTY: _ _ __                         NOT GUILTY: _ _ __


       If you find the Defendant Not Guilty as to Count 9, please move on to Count 10. If you find the
       Defendant Guilty as to Count 9, please indicate which offense the Defendant conspired to commit.
       (Please remember that in order to return a guilty verdict as to this offense, you must unanimously
       answer "yes" on at least one of the three lines below),


               a.     by violating Title 18, United States Code, Section 371 , and Title 42, United States
       Code, Section 1320a-7b(b)(1 )(A), by knowingly and willfully soliciting and receiving
       remuneration, including.kickbacks and bribes, directly and indirectly, overtly and covertly, in cash
       and in kind, in return for referring an individual to a person for the furnishing and arranging for
       furnishing of any item and service for which payment may be made in whole and in part under a
       Federal health care program, that is, TRICARE:


                      Yes                    No


                b.    by violating Title 42, United States Code, Section 1320a_-7b(b )(2)(B), by
       knowingly and willfully offering and paying remuneration, including kickbacks and bribes,
       directly and indirectly, overtly and covertly, in cash and in kind, to a person to induce such person
       to purchase, lease, order, and arrange for and recommend purchasing, leasing, ordering, and
       arranging for and recommending purchasing, leasing, and ordering any good, facility, service, and
       item for which payment may be made in whole and in party under a Federal health care program,
       that is, TRICARE.


                c.     by violating Title 42, United States Code, Section 1320a-7b(b )(2)(A), by
       knowingly and willfully offering and paying any remuneration, including kickbacks and bribes,
       directly and indirectly, overtly and covertly, in cash and in kind, to a person to induce such person
       to refer an individual to a person for the furnishing and arranging for the furnishing of any item
       and service for which payment may be made in whole and in part by a Federal health care program,
       that is, TRICARE.


                      Yes                    No
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  10.    We, the Jury, unanimously find the Defendant, Monty Ray Grow, as to Count 10 of the
  Superseding Indictment:

               GUILTY: - - - -                    NOT GUILTY: - - - - -


  11.    We, the Jury, unanimously find the Defendant, Monty Ray Grow as to Count 11 of the
  Superseding Indictment:

               GUILTY: _ _ __                     NOT GUILTY: _ _ __


  12.    We, the Jury, unanimously find the Defendant, Monty Ray Grow as to Count 12 of the
  Superseding Indictment:

               GUILTY: _ _ __                     NOT GUILTY: _ _ __


  13.    We, the Jury, unanimously find the Defendant, Monty Ray Grow as to Count 13 of the
  Superseding Indictment:

               GUILTY: _ _ __                     NOT GUILTY: _ _ __


  14.    We, the Jury, unanimously find the Defendant, Monty Ray Grow as to Count 14 of the
  Superseding Indictment:

               GUILTY: _ _ __                     NOT GUILTY: _ _ __


  15.    We, the Jury, unanimously find the Defendant, Monty Ray Grow as to Count 17 of the
  Superseding Indictment:

               GUILTY: _ _ __                     NOT GUILTY: _ _ __


  16.    We, the Jury, unanimously find the Defendant, Monty Ray Grow, as to Count 18 of the
  Superseding Indictment:

               GUILTY: _ _ __                     NOT GUILTY: _ _ __


  17.    We, the Jury, unanimously find the Defendant, Monty Ray Grow as to Count 20 of the
  Superseding Indictment:

               GUILTY: - - - -                    NOT GUILTY: - - - - -
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  18.    We, the Jury, unanimously find the Defendant, Monty Ray Grow as to Count 22 of the
  Superseding Indictment:

               GUILTY: _ __                       NOT GUILTY: _ _ __


  19.    We, the Jury, unanimously find the Defendant, Monty Ray Grow as to Count 23 of the
  Superseding Indictment:

               GUILTY: _ _ __                     NOT GUILTY: _ _ __


  20.    We, the Jury, unanimously find the Defendant, Monty Ray Grow as to Count 24 of the
  Superseding Indictment:

               GUILTY: _ _ __                     NOT GUILTY: _ _ __


  21.    We, the Jury, unanimously find the Defendant, Monty Ray Grow as to Count 25 of the
  Superseding Indictment:

               GUILTY: _ _ __                     NOT GUILTY: _ _ __


  22.    We, the Jury, unanimously find the Defendant, Monty Ray Grow, as to Count 26 of the
  Superseding Indictment:

               GUILTY: _ _ __                     NOT GUILTY: _ _ __


  23.    We, the Jury, unanimously find the Defendant, Monty Ray Grow as to Count 28 of the
  Superseding Indictment:

               GUILTY: _ _ __                     NOT GUILTY: _ _ __


  24.    We, the Jury, unanimously find the Defendant, Monty Ray Grow as to Count 29 of the
  Superseding Indictment:

               GUILTY: _ _ __                     NOT GUILTY: _ _ __


  25 .   We, the Jury, unanimously find the Defendant, Monty Ray Grow as to Count 30 of the
  Superseding Indictment:

               GUILTY: _ _ __                     NOT GUILTY: _ _ __
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  26.    We, the Jury, unanimously find the Defendant, Monty Ray Grow as to Count 31 of the
  Superseding Indictment:

               GUILTY: _ _ __                    NOT GUILTY: _ _ __


  27.    We, the Jury, unanimously find the Defendant, Monty Ray Grow as to Count 32 of the
  Superseding Indictment:

               GUILTY: _ _ __                    NOT GUILTY: _ _ __


  28.    We, the Jury, unanimously find the Defendant, Monty Ray Grow as to Count 33 of the
  Superseding Indictment:

               GUILTY: _ _ __                    NOT GUILTY: _ _ __


  29.    We, the Jury, unanimously find the Defendant, Monty Ray Grow as to Count 36 of the
  Superseding Indictment:

               GUILTY: _ _ __                    NOT GUILTY: _ _ __


  30.    We, the Jury, unanimously find the Defendant, Monty Ray Grow as to Count 37 of the
  Superseding Indictment:

               GUILTY: _ _ __                    NOT GUILTY: _ _ __


  31.    We, the Jury, unanimously find the Defendant, Monty Ray Grow as to Count 38 of the
  Superseding Indictment:

               GUILTY: _ _ __                    NOT GUILTY: _ _ __


  32.    We, the Jury, unanimously find the Defendant, Monty Ray Grow as to Count 39 of the
  Superseding Indictment:

               GUILTY: _ _ __                    NOT GUILTY: _ _ __


  33 .   We, the Jury, unanimously find the Defendant, Monty Ray Grow as to Count 40 of the
  Superseding Indictment:

               GUILTY: _ _ __                     NOT GUILTY: _ _ __
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  34.    We, the Jury, unanimously find the Defendant, Monty Ray Grow as to Count 41 of the
  Superseding Indictment:

               GUILTY: _ _ __                     NOT GUILTY: _ _ __


  35.    We, the Jury, unanimously find the Defendant, Monty Ray Grow as to Count 43 of the
  Superseding Indictment:

               GUILTY: _ _ __                     NOT GUILTY: _ _ __


  36.    We, the Jury, unanimously find the Defendant, Monty Ray Grow as to Count 44 of the
  Superseding Indictment:

               GUILTY: _ _ __                     NOT GUILTY: _ _ __


  37.    We, the Jury, unanimously find the Defendant, Monty Ray Grow, as to Count 45 of the
  Superseding Indictment:

               GUILTY: _ _ __                     NOT GUILTY: _ _ __


  38.    We, the Jury, unanimously find the Defendant, Monty Ray Grow as to Count 46 of the
  Superseding Indictment:

               GUILTY: _ _ __                     NOT GUILTY: _ _ __


  39.    We, the Jury, unanimously find the Defendant, Monty Ray Grow as to Count 47 of the
  Superseding Indictment:

               GUILTY: _ _ __                     NOT GUILTY: _ _ __


  40.    We, the Jury, unanimously find the Defendant, Monty Ray Grow as to Count 48 of the
  Superseding Indictment:

               GUILTY: _ _ __                     NOT GUILTY: _ _ __


  41.    We, the Jury, unanimously find the Defendant, Monty Ray Grow as to Count 49 of the
  Superseding Indictment:

               GUILTY: _ _ __                     NOT GUILTY: _ _ __
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  SO SAY WE ALL




  Foreperson                                     Date
